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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                       WESTERN DIVISION AT DAYTON

ANGEL ROJAS,

                Petitioner,                             Case No. 3:07-cr-081
                                                        Also Case No. 3:10-cv-297

                                                        District Judge Walter Herbert Rice
       -vs-                                             Magistrate Judge Michael R. Merz

UNITED STATES OF AMERICA,

                Respondent.


                ORDER ADOPTING REPORT AND RECOMMENDATIONS


                The Court has reviewed the Report and Recommendations of United States

Magistrate Judge Michael R. Merz (Doc. #896), to whom this case was referred pursuant to 28

U.S.C. § 636(b), and noting that no objections have been filed thereto and that the time for filing

such objections under Fed. R. Civ. P. 72(b) has expired, hereby ADOPTS said Report and

Recommendations.

                It is hereby ORDERED that the Motion to Vacate under 28 U.S.C. § 2255 is

DISMISSED with prejudice as time-barred.

September     ,(1 , 2011.
                                                            Walter Herbert Rice
                                                          United States District Judge
